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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:16CR84
                                              )
                Plaintiff,                    )
                                              )
                vs.                           )              TENTATIVE FINDINGS
                                              )
RICARDO DIAZ,                                 )
                                              )
                Defendant.                    )

      The Court has received the Revised Presentence Investigation Report and

Addendum (“PSR”) and the Defendant’s objections1 (Filing No. 36). The government has

not objected to the PSR.       The Defendant has also filed a motion for variance and

supporting brief (Filing Nos. 37 and 38). See Order on Sentencing Schedule, ¶ 6. The

Court advises the parties that these Tentative Findings are issued with the understanding

that, pursuant to United States v. Booker, 543 U.S. 220 (2005), the sentencing guidelines

are advisory.

      Accordingly,

      IT IS ORDERED:

      1.        The Defendant’s Position Statement Re: Revised Presentence Investigation

Report (Filing No. 36) will be heard at the sentencing hearing;

      2.        The Court intends to adopt the PSR in all other respects;

      3.        If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion



      1
       Filing No. 36 was docketed by defense counsel as “Adoption/Statement Regarding
Presentence Report”. Upon review of the document, the Court notes that Filing No. 36
contains several objections to the PSR and will be construed as such.
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challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 3 of this Order,

these tentative findings are final;

       5.     The Defendant’s Motion for Variance or Departure from the Sentencing

Guidelines (Filing No. 37) will be heard at sentencing; and

       6.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 2nd day of August, 2016.

                                          BY THE COURT:


                                          s/Laurie Smith Camp
                                          Chief United States District Judge




                                               2
